             Case 3:17-cv-00072-NKM-JCH Document 152 Filed 12/11/17 Page 1 of 1 Pageid#: 676
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             c/oRobertCahillCooleyLLP 11951Freedom D rive



         TO THE PERSON PREP                            G     SAFFIDAVIT:Youmustcomplywith theappropriaterequirementslistedonthebackofthisform.

         Attachments:                                                                         sum m onsand com plaint
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                               1Warrant ( jMotionforJudgment( (1GarnishmentSummons (x1..,......
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         1,theundersigned Affiant,stateunderoaththat:


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              gxj isanon-residentoftheCommonwealthofVirginiaoraforeigncorporationandVirginiaCodej8.01-32s.1(A).............
                  applies(seeNON-RESIDENCE GRO       SREQUIREMENT onreverse).
                         isapersonwhom thepartyseekingservice,afterexercisingduediligence,hasbeenunabletolocate(seeDUE DILIGENCE
                         REQUIREMENT ON BACK)andthat
                                                               isthereturndateontheattachedwarrant,motionforjudgmentornotice(seeTIMELY SERVICE
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              Verificationofthedateoffiling ofthecertificateofcompliancerequested intheself-addressedstamped envelopeprovided.
         NOTICE TO THE RECIPIENT from the Office oftheSecretary ofthe Comm onwealth ofVirginia:
               Youarebeingservedwith thisnoticeandattached pleadingsunderSection 8.01-329oftheCodeofVirginiawhichdesignates
               theSecretary oftheCom monwea1thasstatutory agentforServiceofProcess.TheSecretaryoftheComm onw ealth'sONLY
               responsibility istom ail,bycertifiedmail,returnreceiptrequested,theenclosedpaperstoyou.lfyou haveany questions
               concerning thesedocuments,you may w ish to seek advice from a lawyer.
         SERVICE OF PROCESS IS EFFECTIVE ON Tc D ATE TH AT Tl'           W CERTHVCATE OF COM PLIAN CE IS FILED W ITH Tlv
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                                                   CERTIFICATE OF COM PLIANCE
         1,theundersigned,clerkinthrofficeoftheSecretaryoftheComm onwea1th,hereby certify thefollowing:
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